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Case 2:05-cv-04182-SRD-JCW Document 1433 Filed 10/20/08" “Page, 4

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AO 399 (Rev. 10/405)

WAIVER OF SERVICE OF SUMMONS {

er

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA | 70113
(NAME GF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF) Kupevenrmmecnn*

TLIIC, LLC

, acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Eric Anderson et al v USA et al

(CAPTION OF ACTION)
which is case number oe-5162_ / in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| {or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on 2 defect in the summons or in the
service of the summons.

{ understand that a judgment may be entered against me (or the party on whose Tn | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after D 2 5 OL
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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Oct. 2, 2006 Ae boanth.
/

DATE SIGNATURE

Printed/Typed Name: Richard G. Brantley

As Agent of TLJIC, LLC
(TITLE) (CORPORATE DEFENDANT}

Duty to Avoid Unnecessary Costa of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties ta cooperate in saving unnecessary costs of service of tha summons and
complaint. A defendant located in the United Statas whe, after bsing notified of an action and asked by a plaintiff located in the United Statas to waive
service of a summons, fails to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and ratum the
Wavel:  is not good cause for 4 failure to waive service that a party beliaves that the complaint is unfounded, ar that the action has bean brought in an
improper place or in & court that lacks jurisdiction over the subject matter of the action or over ils person or property A party waives service af the summons
fetaing all defansas and objections (except any relating to ihe summons or to the service af the summons), and may later abject to the jurisdiction af the
court of to te place where the action has been brought.

A defandant who waives servica must within tha time specified on the waiver form serve on the plaintiff's attorney (or unrepresented plaintiff) a
rasponse te the complaint and must alsa fila @ signed capy of the respanse with the court Ifthe answer or motion is not served within this time, a default
judgment may be taken against that defendant. By waiving service, a defendant is allowed more time to than if the had been actually
served when the request for waiver of service was received.

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__. CtRmDep
___. Doc. No___—_—..

Case 2:05-cv-04182-SRD-JCW Document 1433 Filed POOP g FAST RET TOURT

EASTEAN DISTRICT OF LOUISIANA
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AO 399 (Rev. 10/95)

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: SIT TA G. WHYTE
TO: Joseph M. Bruno, 855 Baronne Street, New Orleans } LA «670113

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WAIVER OF SERVICE OF SUMMONS

ton

(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFE neem ee

I TiJames MarineInc
(DEFENDANT NAME}

, acknowledge receipt of your request

that | waive service of summons in the action of Eric Anderson et al v USA _et al

(CAPTION OF ACTION)
which is case number 06-5162 /C. in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | arn acting) be served with judicial process in
the manner provided by Rule 4.

1 (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | any acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after — 9 { 2 S f Ole ,
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

Oct. 2, 2006

f

OATE

‘SIGNATURE L
Printed/Typed Name: Richard G. Brantl ¥

As Agent of _LJames MarineInc
(TITLE) {CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties ta cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and return thea
war is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over tha subject malier of the action or over its person or property A party walves service af the summons

retains all defenses and objections (except any relating to ihe summons or to the service af the summans), and may later abject to the jurisdiction of the
court or to the place where the action has been brought.

A defendant who waives servica must within tha time specified on tha waiver form serve on the plaintiff's attorney (or unreprasented plaintiff) a
response to the complaint and must alsa fila @ signed copy of the response with the court. If the anewer or motion ia nol served within this time, a default

judgment may be taken ag that ji By waiving service, a defendant ia allowed more time to anewer than if the summons had been actually
served when the request for waiver of service was received.

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Case 2:05-cv-04182-SRD-JCW Document 1433 Filed 10/20/06 Page 3 of 3

U.S. DISTRICT COURT
AO 999 (Rev, 10/95} EASTERN DISTRICT OF LOUISIANA

WAIVER OF SERVICE OF SUMMONS FILED CcT 20 ats wo

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans, EA IORACTIA G. WHYTE

(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF} CUISHE
1 Pine Bluff Sand Co _ acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of __=xic Anderson et al v USA et al.

(CAPTION OF ACTION)
which is case number 06-5162 /K— in the United States District Court
(OGCKET NUMBER)
for the Eastern District of Louisiana

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service of the summons.

| understand that a judgment may be entered against me (or the party on whose Gi Tih

as}

if an answer or motion under Rule 12 is not served upon you within 60 days aiter
sah RBG LEST VIAS SENT}

or within 90 days after that date if the request was sent outside the United States.

olizloe | out ————___—

DATE / SIGNATURE
Printed Typed Name: Aube” Xy, Mouledous-
As OTK e ty of Pine Bluff Sand Co
(TITLE) 4 {CORPORATE DEFENDANT)

Buty to Avoid Unnecessary Costs of Service of Summons

Rute 4 of ihe Federal Rules of Civil Procedure requires cerlain parties lo cooperals in saving unnecessary costs of service of tha summons and
complaint. A defendant focated in Ika Uniled States who, afar being notified of an action and asked by a plain tocated in the United Siales to waive
service of a summons, falls to do so will be required to bear lhe cost of such service enlees good cause be shown for its failure to sign and return Ihe

waiver.
It is not good cause for 4 failure to waive service thet a party believes that ihe complaint Is unfounded, or that the action has been brought in an

Improper place or ina court that lacks iuriaciction over the subjeci matter of the action or over its person or property A parly walves service of ihe summons
retains alt cf and objections {i it any selaling to tha summons of to the service of the summons}, and may jater object Io the jurisdiction of Ine
court or ie the place where the aetion has been brought.

A defendant who waives service must within lhe time specified on the walvar form serve on ths plaintiffs aflomey {or unrepresented plainilfl) a
response to tha complalnl and must also filp a signed copy of (he raspanse with ihe court If the answer or molicn is nol served within this tima, a defauil
judgment may be taken against thet defendant, By walving servica, a defendant is allowed more time to answer than if the summons had been ‘actually
served when the request for walver of service was received,

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